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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


IN RE: Stryker Rejuvenate and ABG II              MDL No. 13-2441 (DWF/FLN)
Hip Implant Products Liability Litigation


This Document Relates to:

DOUGLAS SWAHL, JENNIFER SWAHL
                                                  SHORT FORM COMPLAINT AND
                                                  JURY TRIAL DEMAND
                   Plaintiff(s),

           vs.

HOWMEDICA OSTEONICS d/b/a
STRYKER ORTHOPAEDICS, STRYKER
CORP., STRYKER SALES
CORPORATION and STRYKER
IRELAND LIMITED,

                  Defendants.



      1.         Plaintiffs, Douglas Swahl and Jennifer Swahl, state and bring

this civil action in MDL No. 2441, entitled In Re: Stryker Rejuvenate and ABG II Hip

Implant Products Liability Litigation. Plaintiffs are filing this Short Form Complaint

as permitted by Pretrial Order #10 dated January 23, 2014 of this Court.

                        PARTIES, JURISDICTION AND VENUE

      2.         Plaintiff, Douglas Swahl, is a resident and citizen of the

State of Pennsylvania and claims damages as set forth below.

      3.         Plaintiff’s Spouse, Jennifer Swahl. is a resident and
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citizen of the State of Pennsylvania and claims damages as set forth below.

       4.       Venue of this case is appropriate in the United States District Court,

Eastern District of Pennsylvania. Plaintiff states that but for the Order permitting

directly filing into the District of Minnesota pursuant to Pretrial Order No. 4, Plaintiff

would have filed in the United States District Court, Eastern District of Pennsylvania.

Therefore, Plaintiff respectfully requests that at the time of transfer of this action back to

the trial court for further proceedings that this case be transferred to the above referenced

District Court.

       5.       Plaintiff brings this action :

            X          On behalf of himself

       ______          In a representative capacity as the ______ of the _______ having been

                       duly appointed as the _________ by the ______Court of _____. A

                       copy of the Letters of Administration for a wrongful death claim is

                       annexed hereto if such letters are required for the commencement of

                       such a claim by the Probate, Surrogate or other appropriate court of

                       the jurisdiction of the decedent.

                                 FACTUAL ALLEGATIONS

Allegations as to Right-Side Implant/Explant Surgery(ies): [Cross out if not applicable]

       6.       Plaintiff was implanted with a Rejuvenate / ABG II Modular hip stem on his

       right hip on or about March 28, 2011, at The Chester County Hospital 701 East

       Marshall Street, in West Chester. PA 19380, by Dr. Cheston Simmons, M.D.
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       7.      Plaintiff had the right hip stem at issue explanted on June 15 th, 2021, at

Penn Presbyterian Medical Center 51 N. 39th Street, Myrin Basement in Philadelphia. PA by
Dr. Gwo-Chin Lee, MD.

       8.      Plaintiff will have the right hip stem at issue explanted on or about

__________,      at   _________________        (medical    center   and    address)   by     Dr.

___________________.

       9.      Plaintiff has not yet scheduled a surgery for explantation of the right hip stem

at issue.

Allegations as to Left-Side Implant/Explant Surgery(ies): [Cross out if not applicable]

       10.     Plaintiff was implanted with a Rejuvenate / ABG II (cross out the one that is

inapplicable) Modular hip stem on his/her left hip on or about ________ (date), at the

_________ (medical center and address), in ______, by Dr. _______. [Cross out if not

applicable.]

       11.     Plaintiff had the left hip stem at issue explanted on _________, at _________

(medical center and address) by Dr. __________. [Cross out if not applicable.]

       12.     Plaintiff will have the left hip stem at issue explanted on or about

__________, at _________________ (medical center and address) by Dr.

___________________. [Cross out if not applicable.]

       13.     Plaintiff has not yet scheduled a surgery for explantation of the left hip

implant at issue. [Cross out if not applicable.]



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                            ALLEGATIONS AS TO INJURIES

       14.      (a) Plaintiff claims damages as a result of (check all that are applicable):

          X                   INJURY TO HIMSELF

          X                   INJURY TO THE PERSON REPRESENTED

       ______                 WRONGFUL DEATH

       ______                 SURVIVORSHIP ACTION

       __X____                ECONOMIC LOSS

                (b) Plaintiff’s spouse claims damages as a result of (check all that are

       applicable): [Cross out if not applicable.]

          X                   LOSS OF SERVICES

          X                   LOSS OF CONSORTIUM

       15.      Plaintiff has suffered injuries as a result of implantation of the Device(s) at

issue manufactured by the Defendants as shall be fully set forth in Plaintiff’s anticipated

Amended Complaint, as well as in Plaintiff’s Fact Sheet and other responsive documents

provided to the Defendant and are incorporated by reference herein.

       16.      Plaintiff has suffered injuries as a result of the explantation of the Device(s)

at issue manufactured by the Defendants as shall be fully set forth in Plaintiff’s anticipated

Amended Complaint, as well as in Plaintiff’s Fact Sheet and other responsive documents

provided to the Defendant and are incorporated by reference herein. [Cross out if not

applicable.]

       17.      Defendants, by their actions or inactions, proximately caused the injuries to

Plaintiff(s).

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       18.    Plaintiff(s) could not have known that the injuries he/she suffered were as a

result of a defect in the Device(s) at issue until after the date the Device was recalled from

the market and the Plaintiff(s) came to learn of the recall.

       19.    In addition, Plaintiff could not have known that he/she was injured by

excessive levels of chromium and cobalt until after the date he/she had his/her blood drawn

and he/she was advised of the results of said blood-work and the fact that those blood work

abnormalities were attributable to a defect in the Device(s) at issue.

      CASE-SPECIFIC ALLEGATIONS AND THEORIES OF RECOVERY

       20.    The following claims and allegations are asserted by Plaintiff(s) and are

herein adopted by reference (check all that are applicable):

                 X           COUNT I - NEGLIGENCE;

                 X           COUNT II - NEGLIGENCE PER SE;

                 X           COUNT III - STRICT PRODUCTS LIABILITY -
                             DEFECTIVE DESIGN;

                 X           COUNT IV - STRICT PRODUCTS LIABILITY –
                             MANUFACTURING DEFECT;

                 X           COUNT V - STRICT PRODUCTS LIABILITY- FAILURE
                             TO WARN;

                 X           COUNT VI - BREACH OF EXPRESS WARRANTY;

                 X           COUNT VII- BREACH OF WARRANTY AS TO
                             MERCHANTABILITY;

                 X           COUNT VIII - BREACH OF IMPLIED WARRANTIES;

                 X           COUNT IX - VIOLATION OF MINNESOTA DECEPTIVE
                             ACTS AND PRACTICES, UNFAIR TRADE PRACTICES,


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                 X            CONSUMER PROTECTION MERCHANDISING
                              PRACTICES AND FALSE ADVERTISING ACTS

                  X           COUNT X – VIOLATION OF CONSUMER FRAUD
                              AND/OR UNFAIR AND DECEPTIVE TRADE PRACTICES
                              UNDER STATE LAW;

                  X           COUNT XI - NEGLIGENT MISREPRESENTATION

                  X           COUNT XII - LOSS OF CONSORTIUM

                  X           COUNT XIII – UNJUST ENRICHMENT

               ______         COUNT XIV – WRONGFUL DEATH

       In addition to the above, Plaintiff(s) assert the following additional causes of action

under applicable state law:

________________________________________________________________________

________________________________________________________________________

________________________________________________________________________

________________________________________________________________________

                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiff(s) pray for judgment against Defendants as follows:

       1.      For compensatory damages requested and according to proof;

       2.      For all applicable statutory damages of the state whose laws will govern this

               action;

       3.      For an award of attorneys’ fees and costs;

       4.      For prejudgment interest and costs of suit;

       5.      For restitution and disgorgement of profits; and,


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      6.      For such other and further relief as this Court may deem just and proper.

                                    JURY DEMAND

      Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.


Date: December 8, 2021                            Respectfully submitted,

                                                  SULLO & SULLO, LLP


                                                  /s/ Andrew Sullo
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                                                  LEAD COUNSEL FOR PLAINTIFF




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